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                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LISA INZINGA,                                   )      Case No. 2:18-cv-00420-NBF
                                                )
                    Plaintiff,                  )      Judge Nora Barry Fischer
                                                )
               v.                               )
                                                )      Electronically Filed
CITIMORTGAGE, INC.,                             )
                                                )
                    Defendant.                  )
                                                )

                      FED. R. CIV. P. 26(F) REPORT OF THE PARTIES
        Counsel for the parties and unrepresented parties shall confer regarding the matters
identified herein and prepare a signed report in the following form to be filed at least 21 days
before the Initial LCvR 16.1 Scheduling Conference or at such other time as ordered by the
court. This report form may be downloaded from the Court's website as a word-processing
document and the information filled in as requested on the downloaded form. The dates to be
provided in the report are suggested dates and may be accepted or modified by the Court.

1.       Identification of counsel and unrepresented parties. Set forth the names, addresses,
         telephone and fax numbers and e-mail addresses of each unrepresented party and of each
         counsel and identify the parties whom such counsel represent:

Counsel for Plaintiff, Lisa Inzinga:                Counsel for Defendant, CitiMortgage, Inc.:
Jeffrey L. Suher                                    Erin Fleury (PA 320545)
Dell, Moser, Lane & Loughney, LLC                   K&L Gates LLP (Firm # 148)
Two Chatham Center, Suite 1500                      K&L Gates Center
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                                                    Erin.Fleury@klgates.com

                                                    David E. Fialkow (MA BBO 666192)
                                                    K&L Gates LLP
                                                    State Street Financial Center
                                                    One Lincoln Street
                                                    Boston, MA 02111
                                                    Telephone: (617) 261-3100
                                                    Facsimile: (617) 261-3175
                                                    David.Fialkow@klgates.com




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2.       Set forth the general nature of the case (patent, civil rights, anti-trust, class action, etc):
         The matter before the court involves a claim for alleged violations of the Fair Credit
         Reporting Act (15 U.S.C. §§ 1681s-2(b) and 16810&n).

3.       Date Rule 26(f) Conference was held, the identification of those participating therein
         and the identification of any party who may not yet have been served or entered an
         appearance as of the date of said Conference:
         The parties conferred on May 8, 2018. The participants were Jeffrey Suher on behalf of
         Plaintiffs and David Fialkow and Erin Fleury on behalf of Defendant.

4.       Date of Rule 16 Initial Scheduling Conference as scheduled by the Court: (Lead Trial
         Counsel and unrepresented parties shall attend the Rule 16 Initial Scheduling Conference
         with their calendars in hand for the purpose of scheduling other pre-trial events and
         procedures, including a Post-Discovery Status Conference; Counsel and unrepresented
         parties shall attend the Rule 16 Initial Scheduling Conference prepared to discuss the
         anticipated number of depositions and identities of potential deponents and the
         anticipated dates by which interrogatories, requests for production of documents and
         requests for admissions will be served):
         May 17, 2018 at 3:00 p.m.

5.       Identify any party who has filed or anticipates filing a dispositive motion pursuant
         to Fed. R. Civ. P. 12 and the date(s) by which any such anticipated motion may be
         filed:
         No party currently anticipates filing a dispositive motion pursuant to Fed. R. Civ. P. 12.

6.       Designate the specific Alternative Dispute Resolution (ADR) process the parties
         have discussed and selected, if any, and specify the anticipated time frame for
         completion of the ADR process. Set forth any other information the parties wish to
         communicate to the court regarding the ADR designation:
         The parties selected mediation with a mutually agreed upon mediator as the ADR process
         and would expect to complete such mediation within 60 days.

7.       Set forth any change that any party proposes to be made in the timing, form or
         requirements of Fed. R. Civ. P. Rule 26(a) disclosures, whether such change is
         opposed by any other party, whether any party has filed a motion seeking such
         change and whether any such motion has been ruled on by the Court:
         None.

8.       Subjects on which fact discovery may be needed. (By executing this report, no party
         shall be deemed to (1) have waived the right to conduct discovery on subjects not listed
         herein or (2) be required to first seek the permission of the Court to conduct discovery
         with regard to subjects not listed herein):
         The parties will need fact discovery regarding the reporting or furnishing of credit and
         payment information related to Plaintiff’s mortgage account, the parties’ correspondence,


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         the alleged measure of damages, and other issues related to the merits and defenses of the
         case.

9.       Set forth suggested dates for the following (The parties may elect by agreement to
         schedule a Post-Discovery Status Conference, as identified in Paragraph 12, below, at the
         conclusion of Fact-Discovery rather than at the conclusion of Expert Discovery. In that
         event, the parties should provide suggested dates only for the events identified in sub-
         paragraphs 9.a through 9.e, below. The parties shall provide such information even if
         dispositive motions pursuant to Fed. R. Civ. P. 12 have been or are anticipated to be filed.
         If there are dates on which the parties have been unable to agree, set forth the date each
         party proposes and a brief statement in support of each such party's proposed date. Attach
         to this report form a proposed Court Order setting forth all dates agreed to below and
         leaving a blank for the insertion of a date by the Court for any date not agreed to):
         a.       Date(s) on which disclosures required by Fed. R. Civ. P. 26(a) have been or
                  will be made:
                  The parties agree to make their Rule 26(a)(1) disclosures by May 23, 2018.
         b.       Date by which any additional parties shall be joined:
                  The parties do not anticipate adding any additional parties.
         c.       Date by which the pleadings shall be amended:
                  The parties do not anticipate amending their pleadings.
         d.       Date by which fact discovery should be completed:
                  February 11, 2019.
         e.       If the parties agree that discovery should be conducted in phases or limited
                  to or focused on particular issues, identify the proposed phases or issues and
                  the dates by which discovery as to each phase or issue should be completed:
                  Not applicable.
         f.       Date by which plaintiff’s expert reports should be filed:
                  At this time, the parties do not believe this case will involve any experts.
                  However, to the extent that this changes, the parties will address such deadlines at
                  the Post-Discovery Status Conference.
         g.       Date by which depositions of plaintiff’s expert(s) should be completed:
                  At this time, the parties do not believe this case will involve any experts.
                  However, to the extent that this changes, the parties will address such deadlines at
                  the Post-Discovery Status Conference.
         h.       Date by which defendant’s expert reports should be filed:
                  At this time, the parties do not believe this case will involve any experts.
                  However, to the extent that this changes, the parties will address such deadlines at
                  the Post-Discovery Status Conference.
         i.       Date by which depositions of defendant’s expert(s) should be completed:


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                  At this time, the parties do not believe this case will involve any experts.
                  However, to the extent that this changes, the parties will address such deadlines at
                  the Post-Discovery Status Conference.
         j.       Date by which third party expert’s reports should be filed:
                  At this time, the parties do not believe this case will involve any third party
                  experts. However, to the extent that this changes, the parties will address such
                  deadlines at the Post-Discovery Status Conference.
         k.       Date by which depositions of third party’s expert(s) should be completed:
                  At this time, the parties do not believe this case will involve any third party
                  experts. However, to the extent that this changes, the parties will address such
                  deadlines at the Post-Discovery Status Conference.
10.      If the parties agree that changes should be made to the limitations on discovery
         imposed by the Federal Rules of Civil Procedure or Local Rule or that any other
         limitations should be imposed on discovery, set forth such changes or limitations:
         At this time, the parties do not anticipate that any such changes are necessary but reserve
         the right to request such changes in the future.

11.      Please answer the following questions in regard to the discovery of electronically
         stored information (“ESI”):
         a.       ESI. Is either party seeking the discovery of ESI in this case?
                   Yes           No [If “No,” skip to sub-part (e) below.]
         b.       ESI Discovery Plan. The parties have reviewed and discussed the Court’s
                  Checklist for Rule 26(f) Meet and Confer Regarding Electronically Stored
                  Information set forth in “Appendix LCvR 26.2.C-CHECKLIST” to the Local
                  Rules and:
                   Have agreed that, in light of the facts and issues in this case, there is no need to
                  complete an ESI discovery plan, and will conduct ESI discovery by




                   Have developed an ESI discovery plan (as attached).
                   Will have an ESI discovery plan completed by _____________________.
                  NOTE: At the direction of the Court, parties may be required to submit a draft of
                  the Stipulated Order re: Discovery of Electronically Stored Information for
                  Standard Litigation set forth in “Appendix LCvR 26.2.E-MODEL ORDER” to the
                  Local Rules, to address specific issues relative to the parties’ exchange of
                  electronic discovery and ESI. If the parties are unable to do so, they should advise
                  the Court promptly.

         c.       Preservation. Have the parties agreed on any protocol for the preservation of
                  electronic data and/or potentially relevant ESI?
                   Yes           No
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         d.       ADR. Does any party believe that the exchange of ESI is necessary prior to
                  conducting meaningful Alternative Dispute Resolution (“ADR”) in this case?
                   Yes          No
         e.       Clawback Agreement. The parties have reviewed F.R.C.P. 26(b)(5), F.R.E. 502
                  and LCvR 16.1.D, Procedures Following Inadvertent Disclosure, and:
                   Request the Court enter an Order implementing Federal Rule of Evidence
                  502(d) such as the model Order set forth in “Appendix LCvR 16.1.D” to the Local
                  Rules and filed with this Report.
                   Have agreed on alternate non-waiver language, which either is or will be
                  incorporated within the ESI discovery plan.
                   Are unable to agree on appropriate non-waiver language.

         f.       EDSM and E-Mediator. Does any party believe that the appointment of an E-
                  Discovery Special Master (“EDSM”) or E-Mediator would help resolve ESI
                  discovery issues in this case? For further information, see the Court’s official
                  website at http://www.pawd.uscourts.gov.
                   Yes          No
         g.       Other. Identify all outstanding disputes concerning any ESI issues:
                  None

12.      Set forth whether the parties have elected to schedule the Post-Discovery Status
         Conference following the completion of Fact Discovery or Expert Discovery; in
         either event the parties shall be prepared at the Post-Discovery Status Conference to
         discuss and/or schedule the following: (The parties are not required during their
         Rule 26(f) Conference to consider or propose dates for the items identified below.
         Those dates will be determined, if necessary, at the Post-Discovery Status
         Conference. Lead trial counsel for each party and each unrepresented party are
         required to attend the Post- Discovery Status Conference with their calendars in
         hand to discuss those items listed below that require scheduling. In addition, a
         representative with settlement authority of each party shall be required to attend;
         representatives with settlement authority of any insurance company providing any
         coverage shall be available throughout the Conference by telephone):
         The parties agree to schedule a Post-Discovery Status Conference following the
         completion of fact discovery.
         a.       Settlement and/or transfer to an ADR procedure;
                  To be determined, if necessary, at the Post-Discovery Status Conference.
         b.       Dates for the filing of expert reports and the completion of expert discovery
                  as itemized in sub-paragraphs 9.f. through 9.k., above, if the parties elected
                  to defer such discovery until after the Post-Discovery Status Conference;
                  To be determined, if necessary, at the Post-Discovery Status Conference.


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         c.       Dates by which dispositive motions pursuant to Fed. R. Civ. P. 56, replies
                  thereto and responses to replies should be filed;
                  To be determined, if necessary, at the Post-Discovery Status Conference.
         d.       Dates by which parties’ pre-trial statements should be filed;
                  To be determined, if necessary, at the Post-Discovery Status Conference.
         e.       Dates by which in limine and Daubert motions and responses thereto should
                  be filed;
                  To be determined, if necessary, at the Post-Discovery Status Conference.
         f.       Dates on which motions in limine and Daubert motions shall be heard;
                  To be determined, if necessary, at the Post-Discovery Status Conference.
         g.       Dates proposed for final pre-trial conference;
                  To be determined, if necessary, at the Post-Discovery Status Conference.
         h.       Presumptive and final trial dates.
                  To be determined, if necessary, at the Post-Discovery Status Conference.

13.      Set forth any other order(s) that the parties agree should be entered by the court
         pursuant to Fed. R. Civ. P. 16(b) or 26(c):
         None

14.      Set forth whether the parties anticipate that the court may have to appoint a special
         master to deal with any matter and if so, specify the proposed role of any such
         master and any special qualifications that such master may require to perform such
         role:
         The parties do not anticipate that a special master will be necessary.

15.      If the parties have failed to agree with regard to any subject for which a report is
         required as set forth above, except for proposed dates required in paragraph 9,
         above, briefly set forth the position of each party with regard to each matter on
         which agreement has not been reached:
         Not applicable.

16.      Set forth whether the parties have considered the possibility of settlement of the
         action and describe briefly the nature of that consideration:
         The parties have agreed to participate in mediation. In addition, Plaintiff’s counsel has
         indicated that they will make a settlement demand within the next two weeks.




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Respectfully Submitted,

DELL, MOSER, LANE & LOUGHNEY, LLC         K&L GATES LLP

/s/ Jeffrey L. Suher                      /s/ Erin Fleury
Signed with permission                    Erin Fleury (PA 320545)
Jeffrey L. Suher                          K&L Gates LLP (Firm # 148)
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Counsel for Plaintiff, Lisa Inzinga       David E. Fialkow (MA BBO 666192)
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                                          State Street Financial Center
                                          One Lincoln Street
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                                          David.Fialkow@klgates.com

                                          Counsel for Defendant, CitiMortgage, Inc.
Dated: May 10, 2018




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